                 Case 2:17-cv-04344-MMB Document 1 Filed 09/29/17 Page 1 of 19




~'   r:;J
                                      UNITED STATES DISTRICT COURT
                                    THE EASTERN DISTRICT OF PENNSYLVANIA

     ANTHONY SANDERS and                                                        CIVIL ACTIONil,             'if          '
                                                                                                                         ~-.,_   '-   ....,
                                                                                                                                              fl
                                                                                                                                              c."<i'.·
                                                                                                                                                ~


     OLIVIA SANDERS, h/w

                  v.

     RYDER TRUCK RENTAL, INC. a/k/a and :
     d/b/a RYDER TRUCK RENTAL, RYDER
                                                                                NO.                     F!Lf2D
     SYSTEM, INC. and JULIO ACEVEDO                                                                   Sfp 29 2017
                                                                                               B KATE BARKMJw, Clerf(
                                                   NOTICE OF REMOVAL                            Y----0.p, Clerf(
     TO:    The United States District Court
            for the Eastern District of Pennsylvania


            Defendants, Ryder Truck Rental,                               Inc.       (incorrectly identified as

     "Ryder Truck Rental,                Inc. a/k/a and d/b/a Ryder Truck Rental"),

     Ryder System,        Inc. and Julio Acevedo, by and through their

     attorneys, Yost & Tretta, LLP, hereby file the within Notice of

     Removal of the above-captioned matter from the Philadelphia County

     Court of Common Pleas in which it is now pending, to the United

     States District Court for the Eastern District of Pennsylvania, and

     in support thereof, aver as follows:

            1.    This action was commenced by Writ of Summons filed in the

     Philadelphia County Court of Common Pleas,                                       February Term, 2017, No.

     No. 07409.

            2.    Plaintiff's Complaint was filed and served on counsel on

     or about September 19, 2017.




                 YOST & TRffiA, LLP • T'NO PENN CENTER PlJIZA •SUITE 610 • 1500 JOHN F. KENNEDY BOULEVARD• PHILADELPHIA, PA 19102
           Case 2:17-cv-04344-MMB Document 1 Filed 09/29/17 Page 2 of 19




     3.     At all times relevant to this action, plaintiff, Anthony

Sanders, was an adult individual and citizen of the Commonwealth of

Pennsylvania, residing at 5321 Baltimore Avenue, Philadelphia PA.

     4.     At all times relevant to this action, plaintiff, Olivia

Sanders, was an adult individual and citizen of the Commonwealth of

Pennsylvania, residing at 5321 Baltimore Avenue, Philadelphia PA.

     5.     At all times relevant to this action, defendant, Ryder

Truck Rental, Inc., was a Florida corporation with its principal

place of business located at 11690 NW 105th Street, Miami, FL 33178.

     6.     At all times relevant to this action, defendant, Ryder

System, Inc., was a Florida corporation with its principal place of

business located at 11690 NW 105th Street, Miami, FL 33178.

     7.     Plaintiff served the Writ of Summons upon a local Ryder

leasing location at 1450 South Warfield Street in Philadelphia,

however, both Ryder Truck Rental, Inc. and Ryder System, Inc. are

incorporated under the laws of the State of Florida and have

principal places of businesses at the above Miami address.

     8.     At all times relevant to this action, defendant, Julio

Acedevo, was an adult individual and a citizen of the state of New

Jersey, residing at 406 Lawrie Street, Perth Amboy, NJ 08861.

     9.     Thus, complete diversity of citizenship exists among the

parties.




           YOST & TRETTA, LLP •TWO PENN CENTER PLAZA• SUITE 610 • 1500JOHN F. KENNEDY BOULEVARD• PHILADELPHIA, PA 19102
           Case 2:17-cv-04344-MMB Document 1 Filed 09/29/17 Page 3 of 19




     10.     The value of the matter in controversy, as appearing from

the allegations contained in the Complaint, exceeds the amount of

$75,000.00, exclusive of interest and costs.

     11.    Accordingly, because diversity of citizenship exists and

the amount in controversy exceeds $75,000.00 exclusive of interest

and costs, original jurisdiction exists in the United States

District Court for the Eastern District of Pennsylvania pursuant to

28 U.S.C. Sec. 1332.

     12.    Copies of all process, pleadings and Orders which have

been received by the defendants are attached hereto as Exhibit "A."

     13.    This Notice is timely, having been filed within thirty

(30) days of filing and service of the Complaint.

    WHEREFORE, notice is given that this action is removed from the

Philadelphia County Court of Common Pleas to the United States

District Court for the Eastern District of Pennsylvania.

                                                                Respectfully submitted,

                                                                          & TRETTA

                                                        BY:                     7tt
                                                                      'n M. Campbell                (JC1088)
                                                                        F. Kernoschak (MFK1485)
                                                                Attorneys for Defendants, Ryder
                                                                Truck Rental, Inc. (incorrectly
                                                                identified as "Ryder Truck
                                                                Rental, Inc. a/k/a and d/b/a
                                                                Ryder Truck Rental"), Ryder
                                                                System, Inc. and Julio Acevedo
                                                                Two Penn Center Plaza, Suite 610
                                                                1500 John F. Kennedy Boulevard
                                                                Philadelphia, PA 19102
                                                                 (215)      972-6600




           YOST & TRETTA, LLP • TWO PENN CENTER PLAZI\ • SUITE 610 • 1500 JOHN F. KENNEDY BOULEVARD • PHILADELPHIA, PA 19102
         Case 2:17-cv-04344-MMB Document 1 Filed 09/29/17 Page 4 of 19




                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANTHONY SANDERS and                                                   CIVIL ACTION
OLIVIA SANDERS, h/w

          v.                                                                          f\\...€.0
                                                                                        st'? 1 ~ 111\l
RYDER TRUCK RENTAL, INC. a/k/a and                                    NO.                        _,,,.o.!\ Cl•"-
d/b/a RYDER TRUCK RENTAL, RYDER                                                        111-11:.111'1-"'"" -l)e9· Cl•"-
SYSTEM, INC. and JULIO ACEVEDO                                                       61::-----

                                     CERTIFICATE OF SERVICE

     The undersigned hereby certifies that a true and correct copy

of the within Notice of Removal was served upon counsel via First

Class Mail on September 28, 2017:


                                   Saul M. Bentley, Esquire
                                    The Saul Law Building
                                       1313 Race Street
                                    Philadelphia, PA 19107



                                                        ...-¥OST & TRETTA


                                                    B~,-                          . V/fa'/.4M7
                                                                    Campbell (JC1088)
                                                                    F. Kernoschak (MFK1485)
                                                             ttorneys for Defendants, Ryder
                                                            Truck Rental, Inc. (incorrectly
                                                            identified as "Ryder Truck
                                                            Rental, Inc. a/k/a and d/b/a
                                                            Ryder Truck Rental"), Ryder
                                                            System, Inc. and Julio Acevedo
                                                            Two Penn Center Plaza, Suite 610
                                                            1500 John F. Kennedy Boulevard
                                                            Philadelphia, PA 19102
                                                            (215) 972-6600




         YOST & TRETIA, LLP •TWO PENN CENTER PLAZA• SUITE 610 • 1500 JOHN f_ KENNEDY BOULEVARD• PHILADELPHIA, PA 19102
Case 2:17-cv-04344-MMB Document 1 Filed 09/29/17 Page 5 of 19




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                           Case 2:17-cv-04344-MMB Document 1 Filed 09/29/17 Page 6 of 19


         Court of Common Pleas of Philadelphia County
                       Trial Division
                     Civil Cover Sheet
PLAINTIFF'S NAME                                                               DEFENDANT'S NAME
 ANTHONY SANDERS                                                                RYDER TRUCK RENTAL,              INC., ALIAS; RYDER TRUCK
                                                                                RENTAL
PLAINTIFF'S ADDRESS                                                            DEFENDANT'S ADDRESS
 5321 BALTIMORE AVENUE                                                           1450 SOUTH WARFIELD STREET
 PHILADELPHIA PA 19143                                                           PHILADELPHIA PA 19146

PLAINTIFF'S NAME                                                              DEFENDANT'S NAME
 OLIVIA         SANDERS                                                         RYDER SYSTEMS,           INC.

PLAINTIFF'S ADDRESS                                                           DEFENDANT'S ADDRESS
 5321 BALTIMORE AVENUE                                                          11690 NW 105TH STREET
 PHILADELPHIA PA 19143                                                          MIAMI FL 33178


PLAINTIFF'S NAME                                                              DEFENDANT'S NAME
                                                                                JULIO ACEVEDO

PLAINTIFF'S ADDRESS                                                           DEFENDANT'S ADDRESS
                                                                                406 LAWRIE STREET
                                                                                PERTH AMBOY NJ 08861


TOTAL NUMBER OF PLAINTIFFS           TOTAL NU MEIER OF DEFENDANTS
                                                                                                                                  0      Notice of Appeal
                 2
                                                                                                     Transfer From Other Jurisdictions

AMOUNT IN CONTROVERSY           COURT PROGRAMS

                               D     Arbitration                                                                                 0    Settlement
0     $50,000.00 or less       D     Jwy                                                                                         D    Minors
Iii   More than $50,000.00     Iii   Non-Ji                                                                                      D    WID/Survival
                               D     Other:
CASE TYPE ANO CODE

    2V - MOTOR VEHICLE


STATUTORY E!ASIS FOR CAUSE OF ACTION




                                                                       JM8-nrr
RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKET NUMBER)                                                     IS CASE SUEIJECTTO
                                                                                                                   COORDINATION ORDER?
                                                                                                                                YES            NO


                                                                     FEB 28 2017
                                                                        M.BRYANT
TO THE PROTHONOTARY:
Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: ANTHONY SANDERS , OLIVIA                                     SANDERS
Papers may be served at the address set forth below.

NAME OF PLAINTIFF'SIPETITIONER'SJAPPELLANT'S ATTORNEOY                        ADDRESS

 BENTLEY M. SAUL                                                               THE SAUL LAW BUILDING
                                                                               1313 RACE STREET
PHONE NUMBER                               FAX NUMBER                          PHILADELPHIA PA 19107
    (215J 496-1100                     I   (215l 496-0464

SUPREME COURT IDENTIFICATION NO.                                          I E-MAIL ADDRESS

 68832                                                                         bsaul@saullaw.com

SIGNATURE OF FILING ATTORNEY OR PARTY                                     IDATE SUBMITTED

 BENTLEY SAUL                                                                  Tuesday,      February 28,             2017, 03:40 pm

                                                    FINAL COPY (Approved by the ProlhDnotary Clerk)
         Case 2:17-cv-04344-MMB Document 1 Filed 09/29/17 Page 7 of 19




BENTLEY M. SAUL, LTD.
By: Bentley M. Saul, Esquire
Identification No.: 68832
The Saul Law Building
1313 Race Street
Philadelphia, Pennsylvania 19107
(215) 496-1 IOO                                                  Attorney for Plaintiffs

ANTHONY SANDERS and
OLNIA SANDERS, h/w
5321 Baltimore Avenue
Philadelphia, Pennsylvania 19143                        COURT OF COMMON PLEAS
       v.                                               PHILADELPHIA COUNTY
RYDER TRUCK RENTAL, INC a/k/a and
dlb/aRYDER TRUCK RENTAL                                 FEBRUARY TERM, 2017
1450 South Warfield Street
Philadelphia, Pennsylvania 19146                        NO.:
      and
RYDER SYSTEM, INC.
11690 NW !05'" Street
Miami, Florida 33178
      and
JULIO ACEVEDO
406 Lawrie Street
Perth Ambov. New Jersey 08861

                               PRAECIPE TO ISSUE SUMMONS

TO THE PROTHONOTARY:

       Kindly issue the Summons in the above-captioned matter.

                                                 BENTLEY M. SAUL, LTD.

                                          BY:              /s/
                                                 Bentley M. Saul, Esquire
                                                 Attorney for Plaintiff


Date: Februaty 28. 2017



                                                                                    Case ID: 170207409
                 Case 2:17-cv-04344-MMB Document 1 Filed 09/29/17 Page 8 of 19



  cew                                                                                                    SUMMONS
                          <!Iommonfuealt~                  .of lfennsylfiania                            CJTACION

                                        CITY AND COUNTY OF PHILADELPHIA


                                                                   COURT OF COMMON PLEAS
        ANTHONY SANDERS and OLIVIA
        SANDERS, h/w                                                  February                               17
        5321 Baltimore Avenue                                                                _ _ _ Term, 20,_______
        Philadelphia, Pennsylvania 19143
                                                                   No.

                                   ""
        RYDER TRUCK RENTAL, INC. alkla and
        d/b/a RYDER TRUCK RENTAL, et al.



 To 01
  RYDER TRUCK RENT AL, INC a/k/a              RYDER SYSTEM, INC.                 JULIO ACEVEDO
  '"d                                         11690 NW 105TH Street              406 Lawrie Street
  dlb!a RYDER TRUCK RENTAL                    Miami, Florida 33178               Perth Amboy, New Jersey 08861
      1450 South Warfield Street
  Philadelphia, Pennsylvania 19146



You are notified that the Plaintiff•~l
Usted esta a\•isado qlle el de1na11da11te 11 '
  ANTHONY SANDERS and OLIVIA SANDERS




Has (have) commenced an action against you.
Ha (han) iniciado una accion en contra suya.




                                                           B,y                        11
                                                                                      I; -
                                                                                      \i
                                                           Date
                                                                  FEBRUARY 28, 2017   ~
!•) Name{s) of Defendant(s)
t>i Name(s) of Plaintifl(s)

10·208 (11ov 6100)                                                                               -~~;

                                                                                                       Case ID: 170207409
Case 2:17-cv-04344-MMB Document 1 Filed 09/29/17 Page 9 of 19
                                                                °'
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                                                                8r--
                      COURT OF COMMON PLEAS
                                                                -9
                February     .Term, 20 _!I_ N o . - - - - -      "gj
                                                                u
               ANTHONY SANDERS and OLIVIA SANDERS,
               hlw
               5321 Baltimore Avenue
                Philadelphia, Pennsylvania 19143




                                        vs.
                RYDER TRUCK RENTAL, INC. a/k/a and d/b/a
                RYDER TRUCK RENTAL, et al.




                                  SUMMONS
                                 Case 2:17-cv-04344-MMB Document 1 Filed 09/29/17 Page 10 of 19


                                              Affidavit I Return of Service

                     Plaintiff:IOLIVIA SANDERS                              Court Term   &   No.:   170207409
                                 ANTHONY SANDERS




                                                                                                E-File# 1703021643


                     Defendant: !RYDER TRUCK RENTAL, INC.                   Document Served:
                                                                             Plaintiff's Writ of Summons




                                                                            Company Reference/Control No.:
                     Serve at:    I 1450 SOUTH WARFIELD STREET                139151

                      Served and Made Known to RYDER TRUCK RENTAL, INC. on 03/04/2017 at 10:50 AM, in the
                      manner described below:
                       Agent or person in charge of Party's office or usual place of business. NAME:
                      DENNIS WAY




                                       Age:        Height:       Weight:               Race:                 Sex:
                     Description        44         5' 9"         180 lbs.         Caucasian                 Male

                                    Other:




                                                                     Name of Server: JACOB T. BOOTH
                                                                     Being duly sworn according to law,
                                                                     deposes and says that he/she is process
                                                                     server herein names; and that the facts
                                                                     herein set forth above are true and
                                                                     correct to the best of their knowledge,
                                                                     information and belief.

                                                                     Deputy Sheriff:

                                   FILED AND ATTESTED PRO-PROTHY 08 MAR 2017 08:32 PM
\\zdrafsrv 1218111
        Case 2:17-cv-04344-MMB Document 1 Filed 09/29/17 Page 11 of 19




BENTLEY M. SAUL, LTD.
By: Bentley M. Saul, Esquire
Identification No.: 68832
The Saul Law Building
1313 Race Street
Philadelphia, Pennsylvania I 9107
(215) 496-1100

ANTHONY SANDERS and
OLIVIA SANDERS, hlw                                          COURT OF COMMON PLEAS
       v.                                                    PHILADELPHIA COUNTY
RYDER TRUCK RENTAL, INC alk/a and
dlbla RYDER TRUCK RENTAL                                    FEBRUARY TERM, 2017
       and                                                  NO.: 7409
RYDER SYSTEM, INC.
       and
JULIO ACEVEDO

                         AFFIDAVIT OF COMPLETED SERVICE


       I do hereby certify that I have complied with the July 31, 2017 Order of this Court, a copy

of which is attached hereto. A copy of Plaintiff's Writ of Summons was served on Defendant Julio

Acevedo, 406 Lawrie Street, Perth Amboy, New Jersey 08861 by Certified Mail Return Receipt

Requested and Regular United States Mail on July 31, 2017.




By:          Isl                                            Date: August 4, 2017
       Bentley M. Saul, Esquire
      Attorney fur Plaintiff




                                                                                      Case ID: 170207409
                Case 2:17-cv-04344-MMB Document 1 Filed 09/29/17 Page 12 of 19



                                                  FILED
                                           21 JUL 2017 12:55 pm
                                         CMl AdmlnlatrallOl'I
                             IN THE COURT lli"CB!hMON PLEAS OF PHILADELPHIA
                                  FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                                            CIVIL TRIAL DIVISION



            ANTHONY SANDERS and
            OLIVIA SANDERS, h/w                                 COURT OF COMMON PLEAS
                   v.                                           PHILADELPHIA COUNTY
            RYDER TRUCK RENTAL, INC a/kla and
            dib/a RYDER TRUCK RENTAL                            FEBRUARY TERM, 2017
                   and                                          N0.:7409
            RYDER SYSTEM, INC.
                   and
            JULIO ACEVEDO

                                                          ORDER



                   AND NOW, this 'I' (*day of Ju1y, 2017 upon consideration of Plaintiffs' Motion for

            Alternative Service pursuant to Pa. R.C.P. 430 and Philadelphia Civil Rule 430.l,    Ni   it 1ppcars 12

            th~Coyrt that    dur ahe·.oa nwued Defa1dm1t; Jalio Acevedo is avotdfng savice ofpioecs3 in Hie           _

         ~                  it is hereby ORDERED and DECREED that the said Motion is granted.

                   IT IS FURTHER ORDERED AND DECREED that service of Plaintiffs' Writ of

            Sununons upon Defendant, Julio Acevedo is to be made by Regular United States mail and

            Certified Mail Return Receipt Requested to the folJowing last known address for Defendant,

            Julio Acevedo:

                                                           406 Lawrie Street
                                                     Perth Amboy, New Jersey 08861



                                                                BY THE COURT:
              Sanders Eta\ Vs Ryder T-ORDER



               lllllll l\1111111111111111111111
                     17020740900031
                                                                t1'-.L. V-15.            -·
                                                                                            J.     Case ID: 170207409
                                                                                                 Control No.: 17072875
COPIES SENT PURSUANT TO Pa.R.C.P. 236(b) D. i<ELL Y 07/31/2017                                        Case ID: 170207409
      Case 2:17-cv-04344-MMB Document 1 Filed 09/29/17 Page 13 of 19




                                             THIS IS A MAJOR
                                        ASSESSMENT OF D

BENTLEY M. SAUL, LTD.
By: Bentley M. Saul, Esquire
Identification No.: 68832
The Saul Law Building
1313 Race Street
Philadelphia, Pennsylvania 19107
(215) 496-1100                                              Attorney for Plaintiffs

ANTHONY SANDERS and
OLIVIA SANDERS, h/w                                  COURT OF COMMON PLEAS
       v.                                            PHILADELPHIA COUNTY
RYDER TRUCK RENTAL, INC a/k/a and
d/b/a RYDER TRUCK RENTAL                             FEBRUARY TERM, 2017
       and                                           NO.: 7409
RYDER SYSTEM, INC.
       and
JULIO ACEVEDO

                            CIVIL ACTION COMPLAINT
                           Motor Vehicle Case/Personal Injury




                                                                               Case ID: 170207409
     Case 2:17-cv-04344-MMB Document 1 Filed 09/29/17 Page 14 of 19




                      NOTICE                                             AVISO
You have been sued in court. If you wish to         Le han demandado a usted on la corte. Si
defend against the claims set forth in the          usted quire defenderee de estas demandas
following pages, you must take action within        expuestas en las peginas siqueries, usted bene
twenty (20) days after the complaint and notice     vente (2)dias de plazo al pertir de la fecha de
are served, by entering a written appearance        la demanda y la notification. Mace faltz
personally or by attorney and filing in writing     assentar uno comperencia escrita o en
with the court your defenses or objections to the   persona o con un abogado y entregar a la
claims set forth against you. You are warned        corte en fonne escrite sus defendree o sus
that if you fail to do so the case may proceed      obj ectiones a les demandes on contra de su
without you and a judgment may be entered           persona. See evisado que ei usted no se
against you by the court without further notice     defenda, la corte tomare' medides y guade
for any money claimed in the complaint or for       conouer le demando on contra suye sin perrio
any other claim or relief requested by the          avise o notification. Adem la corte suedo
plaintiff. You may lose money or property or        decider a favor del demandante y require que
other rights important to you.                      usted cunola con todas las provisiones de
YOU SHOULD TAKE THIS PAPER TO                       uste demanda Usted sued porder dinere o
YOURLAWYERATONCE. IFYOUDO                           sus propiedeedes u oros cerechos importantes
NOT HAVE A LA WYER OR CANNOT                        pere usted.
AFFORD ONE, GO TO OR TELEPHONE                      LLEVE ESTA DEMANDA A UN
THE OFFICE SET FORTH BELOW TO FIND                  ABOGADO IMMEDIATAMENTE. SINO
OUT WHERE YOU CAN GET LEGAL HELP.                   TIENT ABOGADO 0 SI NO TIENE EL
           Philadelphia Bar Association             DINERO SUFICIENTE DE PAGAR TAL
         Lawyer Referral and Information            SERVICO. VAY A EN PERSONA 0
                One Reading Center                  LLAME POR TELEFONO A LA OFICINA
            Philadelphia, Pennsylvania              CUY A DIRECCION SE ENCUENTRA
                   (215) 238-6333                   ESCRITA ABAJO PARA A VERIGUAR
                                                    DOMOE SE PUEDE CONSEGUIR
                                                    ASISTENCIA LEGAL
                                                       Asociacion De Licenciados De Filadelfia
                                                     Servicio De Referencia E Infonnacion Legal
                                                                  One Reading Center
                                                              Philadelphia, Pennsylvania
                                                              Telefono: (2151238-6333




                                                                                      Case ID: 170207409
       Case 2:17-cv-04344-MMB Document 1 Filed 09/29/17 Page 15 of 19




                                                    THIS IS A MAJOR JURY MATTER
                                               ASSESSMENT OF DAMAGES REQUIRED

BENTLEY M. SAUL, LTD.
By: Bentley M. Saul, Esquire
Identification No.: 68832
The Saul Law Building
1313 Race Street
Philadelphia, Pennsylvania 19107
(215) 496-1100                                                         Attorney for Plaintiffs

ANTHONY SANDERS and
OlNIA SANDERS, h/w                                             COURT OF COMMON PLEAS
        v.                                                     PHILADELPHIA COUNTY
RYDER TRUCK RENTAL, INC a/k/a and
d/b/a RYDER TRUCK RENTAL                                       FEBRUARY TERM, 2017
        and                                                    NO.: 7409
RYDER SYSTEM, INC.
        and
JULIO ACEVEDO

                                CIVIL ACTION COMPLAINT
                               Motor Vehicle Case/Personal Injury

        Plaintiff, by counsel, Bentley M. Saul, LTD, hereby demands damages from the
Defendants herein, and in support thereof, avers:

1.      Plaintiff Anthony Sanders is an adult individual who resides at the address as stated in
the original process filed in this matter.

2.      Plaintiff Olivia Sanders is an adult individual who resides at the address as stated in the
original process filed in this matter.

3.      Defendant Ryder Truck Rental, Inc a/k/a and d/b/a Ryder Truck Rental is an organized
and existing business entity that may be served with process at the address as stated in the
original process filed in this matter.

4.      Defendant Ryder System, Inc. is an organized and existing business entity that may be
served with process at the address as stated in the original process filed in this matter.

5.      Defendant Julio Acevedo is an adult individual who resides at the address as stated in the
original process filed in this matter.



                                                                                             Case ID: 170207409
       Case 2:17-cv-04344-MMB Document 1 Filed 09/29/17 Page 16 of 19




                                            COUNT I
                                PLAINTIFFS V. DEFENDANTS
                            NEGLIGENCE AND RECKLESSNESS


6.      Plaintiffs hereby incorporate paragraphs 1 through 5 above as if they were set forth fully
and completely herein.

7.     At all times material hereto the entity Defendants acted by and through its/their agents
servants workmen and employees including Defendant Julio Acevedo all of whom were acting
within the course and scope of his agency and employment with Defendants.

8.     At all times material hereto Defendants owned operated occupied maintained managed
and controlled a white 2015 Freightlinertruck with VIN# 3ALACWDT!FDGD1474 ["Delivery
Truck'1.

9.     On June 24, 2015 at or about 5:02 am Defendant Julio Acevedo was traveling on
Northbound 5200 Street at and near and into its intersection with Jefferson Street in Philadelphia
and to the left of the Nissan motor vehicle operated by Anthony Sanders also heading in a
Northbound direction on Northbound 52rnl Street at and near and into its intersection with
Jefferson Street in Philadelphia.

l 0.   On the above date and time and when the traffic light for vehicles heading Northbound
on 52nd Street turned green at its intersection with Jefferson Street, Defendants' Delivery Truck
suddenly violently and without any warning or signal made a right tum causing the front
passenger side of the Delivery Truck to slam into the drivers side and rear of Plaintiffs' Nissan
motor vehicle.

11.    This incident was caused solely by the direct and/or vicarious and joint and/or several
negligence and recklessness of the Defendants and was not caused by any act or failure to act on
the part of Anthony Sanders who at all times material hereto acted reasonably and lawfully and
with all due and appropriate care.

12.    There was nothing that Anthony Sanders could do to avoid Defendants' Delivery Truck
that suddenly violently and without any warning made a right tum into the vehicle he was
operating.



                                                                                        Case ID: 170207409
       Case 2:17-cv-04344-MMB Document 1 Filed 09/29/17 Page 17 of 19




13.    The steel metal components on the front end of Defendants' Delivery Truck slammed
into the driver's side and rear of Plaintiffs' vehicle with great force.

14.    Plaintiffs' vehicle sustained damage to the left side and rear and Defendants' Delivery
Truck sustained damage to its front bumper on the passenger side as a direct result of the impact.

15.    As a direct and proximate result of the joint and/or several and direct and/or vicarious
negligence and recklessness of the Defendants, Anthony Sanders sustained serious bodily
injuries and/or exacerbated prior conditions and Mr. Sanders and his wife [lost consortium] may
be entitled to recover from Defendants for the following elements of damages according to law:

       (a)     L3-3 disc protrusion/herniation per MRI;
       (b)     L4-5 disc protrusion/herniation per MRI;
       (c)     LS-S 1 disc protrusion/herniation per MRI;
       (d)     Cervical spine sprain/strain with rnyofascitis;
       (e)     Thoracic spine sprain/strain;
       (t)     Lumbar spine sprain/strain with myofascitis;
       (g)     Right shoulder pain;
       (h)     Post-traumatic headache;
       (i)     Myofascial syndrome; and.,
       (j)     Aggravated degenerative disc disease.
       (k)     Past medical expenses incurred for the diagnosis, treatment and care of the said
               personal injuries;
       (1)     Future medical expenses incurred for the diagnosis, treatment and care of the said
               personal injuries;
       (m)     Past lost earnings and earning capacity;
       (n)     Future lost earnings and earning capacity;
       (o)     Past pain;
       (p)     Future pain;
       (q)     Past suffering;
       (r)     Future suffering;
       (s)     Embarrassment and humiliation;
       (t)     Past loss of enjoyment of life;
       (u)     Future loss of enjoyment of life;
       (v)     Disfigurement and scarring (if surgery performed);
       (w)      Lost consortium [Olivia Sanders]



                                                                                        Case ID: 170207409
              Case 2:17-cv-04344-MMB Document 1 Filed 09/29/17 Page 18 of 19

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              (x)     Other injuries and damages suffered as a natural and probable result of this
                      Incident and the said personal injuries and damages resulting therefrom.


              WHEREFORE, Plaintiffs demand damages from the Defendants herein jointly and/or
       severally and directly and/or vicariously in an amount in excess of the arbitration limits plus
       interest thereon, costs, and any other sums that this Honorable Court deems appropriate.

                                                  COUNT II
                           PLAINTIFF OLIVIA SANDERS V. DEFENDANTS
                                         LOSS OF CONSORTIUM

       16.    Plaintiffs hereby incorporate paragraphs 1through15 above as if they were set forth fully
       and completely herein.

       17.    As a direct and proximate result of the joint and several and direct and vicarious
       negligence and recklessness of Defendants, Olivia Sanders, as the lawful wife of Anthony
       Sanders, has been and probably will in the future be deprived of the assistance, aid, society and
       consortium of her husband, Anthony Sanders, to her great detriment and loss.

              WHEREFORE, Plaintiffs demand damages from the Defendants herein jointly and/or
       severally and directly and/or vicariously in an amount in excess of the arbitration limits plus
       interest thereon, costs, and any other sums that this Honorable Court deems appropriate.



                                                           BENTLEY M. SAUL, LTD.


                                                    By:            Isl
                                                           Bentley M. Saul, Esquire
                                                           Attorney for Plaintiff




                                                                                              Case ID: 170207409
       Case 2:17-cv-04344-MMB Document 1 Filed 09/29/17 Page 19 of 19




                                          VERIFICATION


        I,   Aol"t t "'i ~fl ck'€~             that the facts set forth in my Civil Action Complaint

are true and correct to the best of my knowledge, information and belief. I further acknoWledge

my understanding that false statements are made subject to the penalties of 18 Pa. C.S.A Section

4904 relating to uns'\vom falsification to authorities.



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